                                   Case 23-10086-RAM                      Doc 1     Filed 01/05/23            Page 1 of 18


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                        Chapter you are filing under:
                                                                                  Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12

                                                                                  Chapter 13                                       Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Leslie                                                           Silvia
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Howard                                                           Helena
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Roberts                                                          Roberts
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or                                                                        Silvia H Roberts
     maiden names and any
     assumed, trade names and
                              Leslie H Roberts                                                      Silvia Roberts
     doing business as names. Leslie Roberts                                                        Sylvia Castro
                                                                                                    Sylvia Castro Roberts
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-8039                                                      xxx-xx-7771
     Individual Taxpayer
     Identification number
     (ITIN)



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Debtor 1   Leslie Howard Roberts
Debtor 2   Silvia Helena Roberts                                                                     Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 495 Brickell Ave #622
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Miami-Dade
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Leslie Howard Roberts
Debtor 2    Silvia Helena Roberts                                                                         Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Leslie Howard Roberts
Debtor 2    Silvia Helena Roberts                                                                          Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Leslie Howard Roberts
Debtor 2    Silvia Helena Roberts                                                                      Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Leslie Howard Roberts
Debtor 2    Silvia Helena Roberts                                                                         Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Leslie Howard Roberts                                         /s/ Silvia Helena Roberts
                                 Leslie Howard Roberts                                             Silvia Helena Roberts
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     January 5, 2023                                   Executed on     January 5, 2023
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 2   Silvia Helena Roberts                                                                          Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Patrick L. Cordero, Esq.                                       Date         January 5, 2023
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Patrick L. Cordero, Esq. 801992
                                Printed name

                                Law Office of Patrick L. Cordero, PA
                                Firm name

                                7333 Coral Way
                                Miami, FL 33155
                                Number, Street, City, State & ZIP Code

                                Contact phone     305-445-4855                               Email address         ECFMAIL@pcorderolaw.com
                                801992 FL
                                Bar number & State




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            Ally Financial, Inc
            P.o. Box 380901
            Bloomington, MN 55438


            Ally Financial, Inc
            Attn: Bankruptcy
            500 Woodard Ave
            Detroit, MI 48226


            Amex
            Po Box 6789
            Sioux Falls, SD 57117


            Amex
            Correspondence/Bankruptcy
            Po Box 981540
            El Paso, TX 79998


            Aspire Credit Card
            Po Box 105555
            Atlanta, GA 30348


            Aspire Credit Card
            Attn: Bankruptcy
            Po Box 105555
            Atlanta, GA 30348


            Avant/WebBank
            222 N. Lasalle St
            Chicago, IL 60601


            Avant/WebBank
            222 North Lasalle Street
            Suite 1600
            Chicago, IL 60601


            Bank of America
            Po Box 982238
            El Paso, TX 79998


            Bank of America
            Attn: Bankruptcy
            4909 Savarese Circle
            Tampa, FL 33634
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        Capital One
        Po Box 31293
        Salt Lake City, UT 84131


        Capital One
        Attn: Bnakruptcy
        P.O. Box 30285
        Salt Lake City, UT 84130


        Capital One Auto Finance
        Credit Bureau Dispute
        Plano, TX 75025


        Capital One Auto Finance
        Attn: Bankruptcy
        7933 Preston Rd
        Plano, TX 75024


        Capital One/Neiman Marcus/Bergdorf Goodm
        Po Box 31293
        Salt Lake City, UT 84131


        Capital One/Neiman Marcus/Bergdorf Goodm
        Attn: Bankruptcy
        Po Box 30285
        Salt Lake City, UT 84130


        Capital One/SaksFirst
        Po Box 31293
        Salt Lake City, UT 84131


        Capital One/SaksFirst
        Attn: Bankruptcy
        Po Box 30285
        Salt Lake City, UT 84130


        Capitalone



        Cbna
        Po Box 6217
        Sioux Falls, SD 57117
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        Cbna
        Attn: Centralized Bankruptcy
        Po Box 790034
        St. Louis, MO 63179


        Chase Auto Finance
        700 Kansas Lane
        Monroe, LA 71203


        Chase Auto Finance
        Attn: Bankruptcy
        Po Box 901076
        Fort Worth, TX 76101


        Chase Card Services
        Po Box 15369
        Wilmington, DE 19850


        Chase Card Services
        Attn: Bankruptcy
        P.O. 15298
        Wilmington, DE 19850


        Citibank North America
        Po Box 6497
        Sioux Falls, SD 57117


        Citibank North America
        Citibank SD MC 425
        5800 South Corp Place
        Sioux Falls, SD 57108


        Comenity Bank/Victoria Secret
        Po Box 182789
        Columbus, OH 43218


        Comenity Bank/Victoria Secret
        Attn: Bankruptcy
        Po Box 182125
        Columbus, OH 43218


        Comenity/MPRC
        Po Box 182120
        Columbus, OH 43218
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        Comenity/MPRC
        Attn: Bankruptcy
        Po Box 182125
        Columbus, OH 43218


        Comenitycapital/c21
        Po Box 182120
        Columbus, OH 43218


        Comenitycapital/c21
        Attn: Bankruptcy
        Po Box 182125
        Columbus, OH 43218


        Continental Finance Co
        Pob 8099
        Newark, DE 19714


        Continental Finance Co
        Attn: Bankruptcy
        4550 Linden Hill Rd, Ste 4
        Wilmington, DE 19808


        Continental Finance Company
        4550 New Linden Hill Road
        Wilmington, DE 19808


        Continental Finance Company
        Attn: Bankruptcy
        Po Box 8099
        Newark, DE 19714


        Credit One Bank
        Po Box 98872
        Las Vegas, NV 89193


        Credit One Bank
        Attn: Bankruptcy Department
        Po Box 98873
        Las Vegas, NV 89193


        Discover Financial
        Po Box 30939
        Salt Lake City, UT 84130
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        Discover Financial
        Attn: Bankruptcy
        Po Box 3025
        New Albany, OH 43054


        Dsnb Bloomingdales
        Po Box 6789
        Sioux Falls, SD 57117


        Dsnb Bloomingdales
        Attn: Recovery "Bk"
        Po Box 9111
        Mason, OH 45040


        Expo/Thd/Citi
        Po Box 6497
        Sioux Falls, SD 57117


        Expo/Thd/Citi
        Citicards Srvcs/Centralized Bankruptcy
        Po Box 20507
        Kansas City, MO 64195


        Fannie Mae Mortgage Loan Company
        c/o Timothy J. Mayopoulos, CEO
        3900 Wisconsin Avenue, NW
        Washington, DC 20016-2892


        Fingerhut
        13300 Pioneer Trail
        Eden Prairie, MN 55347


        Fingerhut
        Attn: Bankruptcy
        6250 Ridgewood Road
        Saint Cloud, MN 56303


        First National Bank/Legacy
        500 East 60th St North
        Sioux Falls, SD 57104


        First National Bank/Legacy
        Attn: Bankruptcy
        Po Box 5097
        Sioux Falls, SD 57117
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        First PREMIER Bank
        3820 N Louise Ave
        Sioux Falls, SD 57107


        First PREMIER Bank
        Attn: Bankruptcy
        P.O. Box 5524
        Sioux Falls, SD 57117


        First Savings Bank/Blaze
        500 E. 60th Street
        Sioux Falls, SD 57104


        First Savings Bank/Blaze
        Attn: Bankruptcy
        Po Box 5096
        Sioux Falls, SD 57117


        Firstbank Florida
        9795 South Dixie Hwy
        Miami, FL 33156


        Freddie Mac Mortgage Loan Company
        c/o Donald H. Layton, CEO
        8200 Jones Branch Dr.
        Mc Lean, VA 22102-3110


        Gateway One Lending & Finance
        3818 E Coronado
        Anaheim, CA 92807


        Gateway One Lending & Finance
        Attn: Bankruptcy
        175 North Riverview Dr, Suite 100
        Anaheim, CA 92808


        Honorable Juan Antonio Gonzalez
        US Attorney for Southern District
        99 NE 4 St
        Miami, FL 33132


        Honorable Merrick Garland
        Attorney General
        Dept of Justice #4400
        950 Pennsylvania Ave NW
        Washington, DC 20530
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        Internal Revenue Service
        Centralized Insolvency Operation
        POB 7346
        Philadelphia, PA 19101-7346


        Macys/fdsb
        Po Box 6789
        Sioux Falls, SD 57117


        Macys/fdsb
        Attn: Bankruptcy
        9111 Duke Boulevard
        Mason, OH 45040


        Mercury/FBT
        Po Box 84064
        Columbus, GA 31908


        Mercury/FBT
        Attn: Bankruptcy
        Po Box 84064
        Columbus, GA 31908


        Merrick Bank Corp
        Po Box 9201
        Old Bethpage, NY 11804


        Midland Funding, LLC
        320 East Big Beaver
        Troy, MI 48083


        Midland Funding, LLC
        Attn: Bankruptcy
        Po Box 939069
        San Diego, CA 92193


        National Credit Adjusters, LLC
        P.o. Box 550
        Hutchinson, KS 67504


        National Credit Adjusters, LLC
        327 West 4th Avenue
        Po Box 3023
        Hutchinson, KS 67504
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        NCB Management Services
        1 Allied Drive
        Trevose, PA 19053


        NCB Management Services
        Attn: Bankruptcy
        1 Allied Drive
        Feasterville-Trevose, PA 19053


        Nordstrom FSB
        13531 E. Caley Ave
        Englewood, CO 80111


        Nordstrom FSB
        Attn: Bankruptcy
        Po Box 6555
        Englewood, CO 80155


        Ollo/tbom
        Po Box 9222
        Old Bethpage, NY 11804


        Portfolio Recovery Associates, LLC
        120 Corporate Blvd Ste 100
        Norfolk, VA 23502


        Portfolio Recovery Associates, LLC
        Attn: Bankruptcy
        120 Corporate Boulevard
        Norfolk, VA 23502


        Sefinceau
        4000 N Federal Way
        Boca Raton, FL 33431


        Select Portfolio Servicing, Inc
        10401 Deerwood Park Blvd
        Jacksonville, FL 32256


        Select Portfolio Servicing, Inc
        Attn: Bankruptcy
        Po Box 65250
        Salt Lake City, UT 84165
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        Syncb/city Furniture
        C/o Po Box 965036
        Orlando, FL 32896


        Synchrony Bank/Banana Republic
        Po Box 965005
        Orlando, FL 32896


        Synchrony Bank/Banana Republic
        Attn: Bankruptcy
        Po Box 965060
        Orlando, FL 32896


        Synchrony Bank/BRMart
        C/o Po Box 965036
        Orlando, FL 32896


        Synchrony Bank/BRMart
        Attn: Bankruptcy
        Po Box 965060
        Orlando, FL 32896


        Synchrony Bank/Care Credit
        C/o Po Box 965036
        Orlando, FL 32896


        Synchrony Bank/Care Credit
        Attn: Bankruptcy Dept
        Po Box 965064
        Orlando, FL 32896


        Synchrony Bank/Gap
        Po Box 965005
        Orlando, FL 32896


        Synchrony Bank/Gap
        Attn: Bankruptcy
        Po Box 965060
        Orlando, FL 32896


        Synchrony Bank/HHGregg
        C/o Po Box 965036
        Orlando, FL 32896
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        Synchrony Bank/HHGregg
        Attn: Bankruptcy
        Po Box 965060
        Orlando, FL 32896


        Synchrony Bank/JCPenney
        Po Box 965007
        Orlando, FL 32896


        Synchrony Bank/JCPenney
        Attn: Bankruptcy
        Po Box 965060
        Orlando, FL 32896


        Synchrony Bank/TJX
        Po Box 965015
        Orlando, FL 32896


        Synchrony Bank/TJX
        Attn: Bankruptcy
        Po Box 965064
        Orlando, FL 32896


        Synchrony/PayPal Credit
        Po Box 965005
        Orlando, FL 32896


        Synchrony/PayPal Credit
        Attn: Bankruptcy
        Po Box 965060
        Orlando, FL 32896


        Td Auto Finance
        Po Box 9223
        Farmington, MI 48333


        Td Auto Finance
        Attn: Bankruptcy
        Po Box 9223
        Farmington Hills, MI 48333


        Total Visa/The Bank of Missouri
        Po Box 85710
        Sioux Falls, SD 57118
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        Total Visa/The Bank of Missouri
        Po Box 84930
        Sioux Falls, SD 57118


        Total Visa/The Bank of Missouri
        Attn: Bankruptcy
        Po Box 85710
        Sioux Falls, SD 57118


        U.S. Bankcorp
        Cb Disputes
        Saint Louis, MO 63166


        U.S. Bankcorp
        Attn: Bankruptcy
        800 Nicollet Mall
        Minneapolis, MN 55402


        Uplift, Inc.



        Uplift, Inc.
        Attn: Bankruptcy
        440 N Wolfe Rd
        Sunnyvale, CA 94085


        Wells Fargo Bank NA
        Po Box 14517
        Des Moines, IA 50306


        Wells Fargo Bank NA
        Attn: Bankruptcy
        1 Home Campus Mac X2303-01a 3rd Fl
        Des Moines, IA 50328
